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FILED

UNITED STATES DISTRICT COURT |
MIDDLE DISTRICT OF FLORIDA JIB JAN 22 PH 1:29
JACKSONVILLE DIVISION |
MICHAEL HAUSER,
Plaintiff,
-VS-
1
case NOS CV [US DIMI LK

WESTLAKE SERVICES, LLC,

Defendant.
/

COMPLAINT AND DEMAND FOR JURY TRIAL

COMES NOW Plaintiff, Michael Hauser, by and through the undersigned
counsel, and sues Defendant, Westlake Services, LLC, and in support thereof respectfully
alleges violations of the Telephone Consumer Protection Act, 47 U.S.C. § 227 ef seq.
(“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat. § 559.55 ef seq.
(“FCCPA”).

INTRODUCTION

L The TCPA was enacted to prevent companies like Defendant from
invading American citizen’s privacy and prevent abusive “robo-calls.”

2. “The TCPA is designed to protect individual consumers from receiving
intrusive and unwanted telephone calls.” Mims v. Arrow Fin. Servs., LLC, -US--, 132
S.Ct., 740, 745, 181, L.Ed. 2d 881 (2012).

3. “Senator Hollings, the TCPA’s sponsor, described these calls as ‘the
*1256 scourge of modern civilization, they wake us up in the morning; they interrupt our

dinner at night; they force the sick and elderly out of bed; they hound us until we want to
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tip the telephone out of the wall.”’ 137 Cong. Rec. 30, 821 (1991). Senator Hollings
presumably intended to give telephone subscribers another option: telling the auto-dialers
to simply stop calling.” Osorio v. State Farm Bank, F.S.B., 746 F. 3d 1242 (1 1” Cir.
2014).

4, According to the Federal Communications Commission (FCC),
“Unwanted calls and texts are the number one complaint to the FCC. There are thousands
of complaints to the FCC every month on both telemarketing and robocalls. The FCC
received more than 215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal
to Protect and Empower Consumers Against Unwanted Robocalls, Texts to Wireless
Phones, Federal Communications Commission, (May ZI, 2015),
http://transition.fec.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-
333676A1.pdf.

JURISDICTION AND VENUE

 

3 This is an action for damages exceeding Seventy-Five Thousand Dollars
($75,000.00), exclusive of attorney fees and costs.

6. Jurisdiction and venue for purposes of this action are appropriate and
conferred by 28 U.S.C. § 1331, Federal Question Jurisdiction, as this action involves
violations of the TCPA.

Ts Subject matter jurisdiction, federal question jurisdiction, for purposes of
this action is appropriate and conferred by 28 U.S.C. § 1331, which provides that the
district courts shall have original jurisdiction of all civil actions arising under the

Constitution, laws, or treaties of the United States; and this action involves violations of
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47 U.S.C. § 227(b)(1)(A)(Giii). See Mims v. Arrow Fin. Servs., LEC, S.Ct. 740, 748 (2012)
and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (1 1" Cir. 2014).

8. The alleged violations described herein occurred in Duval County,
Florida. Accordingly, venue is appropriate with this Court under 28 U.S.C. §1391(b)(2)
as it is the judicial district in which a substantial part of the events or omissions giving
rise to this action occurred.

FACTUAL ALLEGATIONS

a. Plaintiff is a natural person, and citizen of the State of Florida, residing in
Duval County, Florida

10. Plaintiff is a “consumer” as defined in Florida Statute § 559.55(8).

11. Plaintiff is an “alleged debtor.”

12: Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755
F. 3d 1265 (11" Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (11"
Cir. 2014).

13, Defendant is a corporation with its principal place of business located at
4751 Wilshire Blvd., Suite 100, Los Angeles, California 90010, and which conducts
business in the State of Florida through its registered agent, Corporate Creations
Network, Inc., located at 11380 Prosperity Farms Road, Suite 221E, Palm Beach
Gardens, Florida 33410.

14. The debt that is the subject matter of this Complaint is a “consumer debt”
as defined by Florida Statute §559.55(6).

[3. Defendant is a “creditor” as defined in Florida Statute §559.55(5).
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16. Defendant called Plaintiff on Plaintiffs cellular telephone over one
thousand (1,000) times in an attempt to collect a debt.

17. Defendant attempted to collect an alleged debt related to an automobile
loan from Plaintiff by this campaign of telephone calls.

18. Upon information and belief, some or all of the calls the Defendant made
to Plaintiff's cellular telephone number were made using an “automatic telephone dialing
system” which has the capacity to store or produce telephone numbers to be called, using
a random or sequential number generator (including but not limited to a predictive dialer)
or an artificial or pre-recorded voice; and to dial such numbers as specified by 47 U.S.C §
227(a)(1) (hereinafter “‘auto-dialer calls”). Plaintiff will testify that he knew it was an
auto-dialer because when he answered the line he heard an automated pre-recorded
message instructing him to “call back Westlake Financial Services immediately” to
discuss his account.

19. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (904) ***-2739 and was the called party and recipient of Defendant’s calls.

20. Defendant placed an exorbitant number of automated calls to Plaintiffs
cellular telephone (904) ***-2739 in an attempt to collect on a loan associated with a
2012 Dodge 3500 pick-up truck.

21. The auto-dialer calls from Defendant are initiated from phone numbers
including but not limited to: 888-706-3772 and 904-647-4897, and when those numbers
are dialed, an artificial voice answers and says, “Thank you for calling Westlake

Financial Services.”
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edn On several occasions since the relationship between the parties began,
Plaintiff instructed Defendant’s agent(s) to stop calling his cellular telephone.
Specifically, shortly after the calls began, Plaintiff advised an agent of Defendant to “stop
calling” his cellular telephone.

23, Later, in or around the end of November 2017, Plaintiff told an agent of
Defendant, “quit calling me.” The agent responded by telling Plaintiff that the calls “will
continue.”

24. Each subsequent call Defendant made to Plaintiff's cellular telephone was
done so without the “express consent” of the Plaintiff.

25. Each subsequent call Defendant made to Plaintiff's cellular telephone was
knowing and willful.

26. | Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice to individuals just as it did to Plaintiffs
cellular telephone in this case.

27. Defendant has a corporate policy to use an automatic telephone dialing
system or a pre-recorded or artificial voice just as it did to Plaintiff's cellular telephone in
this case, with no way for the consumer, Plaintiff, or Defendant to remove the cellular
telephone number.

28.  Defendant’s corporate policy is structured so as to continue to call
individuals like Plaintiff, despite these individuals explaining to Defendant they wish for

the calls to stop.
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29, Defendant has numerous other federal lawsuits pending against it alleging
similar violations as stated in this Complaint.

30, Defendant has numerous complaints across the country against it asserting
that its automatic telephone dialing system continues to call despite requested to stop.

31. Defendant has had numerous complaints from consumers across the
country against it asking to not be called; however, Defendant continues to call the
consumers.

325 Defendant’s corporate policy provided no means for Plaintiff to have his
cellular telephone number removed from Defendant’s call list.

33. Defendant has a corporate policy to harass and abuse individuals despite
actual knowledge the called parties do not wish to be called.

34. Not a single call placed by Defendant to Plaintiff were placed for
“emergency purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

os Defendant willfully and/or knowingly violated the TCPA with respect to
Plaintiff.

36. From each and every call placed without consent by Defendant to
Plaintiffs cellular telephone, Plaintiff suffered the injury of invasion of privacy and the
intrusion upon his right of seclusion.

37. From each and every call without express consent placed by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of occupation of his cellular

telephone line and cellular telephone by unwelcome calls, making the cellular telephone
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unavailable for legitimate callers or outgoing calls while the cellular telephone was
ringing from Defendant’s calls.

38. From each and every call placed without express consent by Defendant to
Plaintiffs cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of
his time. For calls he answered, the time he spent on the call was unnecessary as he
repeatedly asked for the calls to stop. Even for unanswered calls, Plaintiff had to waste
time to unlock the cellular telephone and deal with missed call notifications and call logs
that reflected the unwanted calls. This also impaired the usefulness of these features of
Plaintiff's cellular telephone, which are designed to inform the user of important missed
communications.

aS. Each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone was an injury in the form of a nuisance and annoyance to
Plaintiff. For calls that were answered, Plaintiff had to go to the unnecessary trouble of
answering them. Even for unanswered calls, Plaintiff had to waste time to unlock the
cellular telephone and deal with missed call notifications and call logs that reflected the
unwanted calls. This also impaired the usefulness of these features of Plaintiff's cellular
telephone, which are designed to inform the user of important missed communications.

40. Each and every call placed without express consent by Defendant to
Plaintiffs cellular telephone resulted in the injury of unnecessary expenditure of

Plaintiff's cellular telephone’s battery power.
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41, Each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone where a voice message was left which occupied space in
Plaintiff's cellular telephone or network.

42. Each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone resulted in the injury of a trespass to Plaintiffs chattel,
namely his cellular telephone and his cellular telephone services.

43, As a result of the calls described above, Plaintiff suffered an invasion of
privacy. Plaintiff was also affected in a personal and individualized way by stress,
nervousness, embarrassment, and aggravation.

COUNT I
(Violation of the TCPA)

44, _ Plaintiff fully incorporates and re-alleges paragraphs one (1) through
forty-three (43) as if fully set forth herein.

45. Defendant willfully violated the TCPA with respect to Plaintiff, especially
for each of the auto-dialer calls made to Plaintiff's cellular telephone after Plaintiff
notified Defendant that he wished for the calls to stop.

46. Defendant repeatedly placed non-emergency telephone calls to Plaintiff's
cellular telephone using an automatic telephone dialing system or pre-recorded or
artificial voice without Plaintiff's prior express consent in violation of federal law,
including 47 U.S.C § 227(b)(1)(A)(ii1).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so

triable and judgment against Westlake Services, LLC, for statutory damages, punitive
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damages, actual damages, treble damages, enjoinder from further violations of these parts

and any other such relief the court may deem just and proper.

COUNT II
(Violation of the FCCPA)

47. Plaintiff fully incorporates and re-alleges paragraphs one (1) through
forty-three (43) as if fully set forth herein.

48. At all times relevant to this action Defendant is subject to and must abide
by the laws of the State of Florida, including Florida Statute § 559.72.

49, Defendant has violated Florida Statute § 559.72(7) by willfully
communicating with the debtor or any member of his or her family with such frequency
as can reasonably be expected to harass the debtor or his or her family.

50. Defendant has violated Florida Statute § 559.72(7) by willfully engaging
in other conduct which can reasonably be expected to abuse or harass the debtor or any
member of his or her family.

31. Defendant’s actions have directly and proximately resulted in Plaintiffs
prior and continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so
triable and judgment against Westlake Services, LLC, for statutory damages, punitive
damages, actual damages, costs, interest, attorney fees, enjoinder from further violations

of these parts and any other such relief the court may deem just and proper.
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Respectfully submitted,

/s/Frank H. Kerney, ITI, Esquire
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